             Case: 23-1887 Document:
Case 1:22-cv-01160-PLM-SJB           49 PageID.782
                            ECF No. 49,  Filed: 10/29/2024    Page: 1
                                                       Filed 10/29/24                    Page 1 of 2




                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
   Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
         Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                    Filed: October 29, 2024




 Ms. Ann E. Filkins
 U.S. District Court
 for the Western District of Michigan at Grand Rapids
 110 Michigan Street, N.W.
 Suite 399 Federal Building
 Grand Rapids, MI 49503-0000

                       Re: Case No. 23-1887, Peter Lyoya v. Christopher Schurr, et al
                           Originating Case No. 1:22-cv-01160

 Dear Ms. Filkins,

    Enclosed is a copy of the mandate filed in this case.

                                                    Sincerely,

                                                    s/Abby Hahn
                                                    for Antoinette Macon, Case Manager

 cc: Mr. Christopher Patrick Desmond
     Ms. Kali May Lester Henderson
     Mr. T. Joseph Seward

 Enclosure
             Case: 23-1887 Document:
Case 1:22-cv-01160-PLM-SJB           49 PageID.783
                            ECF No. 49,  Filed: 10/29/2024    Page: 2
                                                       Filed 10/29/24                     Page 2 of 2




                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                            ________________

                                              No: 23-1887
                                            ________________

                                                                       Filed: October 29, 2024

 PETER LYOYA, Personal Representative for the estate of Patrick Lyoya (deceased)

                 Plaintiff - Appellee

 v.

 CHRISTOPHER SCHURR

                 Defendant - Appellant

 and

 CITY OF GRAND RAPIDS, MI

                 Defendant



                                             MANDATE

      Pursuant to the court's disposition that was filed 09/09/2024 the mandate for this case hereby

 issues today.



 COSTS: None
